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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *      CRIMINAL NO. ELH-19-410
       v.                                       *
                                                *
 MATTHEW EDWARD BLAIR,                          *
    Defendant.                                  *
                                            **********

                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America submits this memorandum in aid of sentencing and

respectfully requests that the Court impose a term of imprisonment for one year and one day, a

three year term of supervised release, and the issuance of a restitution order in the amount of

$3,176,470.83.

  I.   Factual Summary

       The Defendant, Matthew Edward Blair, engaged in a scheme to unjustly enrich himself, at

the great expense of the United States taxpayer.

       In a scheme to drive-up profits at the pharmacy he owned and operated, the Defendant paid

millions of dollars in illegal kickbacks to induce the referral of federal health care business to his

pharmacy. Because of his unlawful payments, the Defendant accumulated millions of dollars in

profits, derived from U.S. taxpayer-funded health care benefit programs.

       At the time he made these payments, the Defendant knew his conduct violated the Anti-

Kickback Statute (“AKS”). But this knowledge did not deter the Defendant from committing this

misconduct. Instead, the Defendant willfully violated, and completely disregarded the AKS, a law

intended to reduce fraud, waste and abuse in U.S. taxpayer-funded health care programs, thereby


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amassing huge profits for pain creams, scar creams and vitamins shipped to TRICARE patients in

the mail, which were largely unwanted and unnecessary.

       This scheme started in 2014, when the Defendant decided to open a compound pharmacy

in Timonium, Maryland. He had previously worked as an independent 1099 sales rep for other

pharmacies, and he became aware of the AKS, as well as the reimbursement process related to

compounded drugs. When he first sought to open his business, the Defendant named his pharmacy

“Blair Compounding Pharmacy.” Around this same time however, the health care industry began

to apply heightened scrutiny to practices within the compounding pharmacy business. So, shortly

before his pharmacy officially opened in 2014, the Defendant decided to change the name of his

business from “Blair Compounding Pharmacy” to “Blair Pharmacy.”

       Although he dropped the word “compounding” from the name, compounds, and the profits

associated with compounds were his primary concern. It is instructive that, when the Defendant

applied to become part of the TRICARE / Express Scripts (“ESI”) network of covered pharmacies,

he attempted to obfuscate the compounding nature of his business. During the application process,

he informed ESI that his pharmacy was only “minimally” involved in compounding, and he made

the material misrepresentation that only “two percent” of Blair Pharmacy business related to

compounded medications (when, in fact, compounds comprised well over 95% of the pharmacy’s

business). Acceptance into the TRICARE / ESI network of pharmacies was vital, because it was

only after acceptance into this network that the Defendant was permitted to bill TRICARE for

compounds related to TRICARE beneficiaries.

       The Defendant created pre-filled prescription forms, containing his curated compound

ingredient formulations. He knew the amount of money he would receive for each gram of each

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ingredient he listed in his formulas. Further, he would create formulas and modify the ingredients

(and amounts of ingredients) – not for the medical need of any patient – but based upon how much

money he would be reimbursed for each gram of each ingredient he listed in his compounds.

       A few weeks after his pharmacy opened in September 2014, while trying to recruit a

marketer to work as a 1099 sales rep for him, the Defendant sent the marketer an email boasting

about his compounds’ reimbursement rates. The Defendant stated his reimbursement rates were

“the highest in the industry due to our formulations.” The Defendant also admitted to the

motivation behind his business, boasting that no one was going to “exploit every opportunity to

get paid as much as I am.”

       Dr. Stephen Thomas, a board certified pain management physician with decades of

experience treating patients with serious pain conditions, reviewed the Defendant’s so-called

“formulations.” Dr. Thomas was prepared to testify at trial that many of the ingredients (and

combinations of ingredients) that the Defendant chose to include in his compound creams made

absolutely no sense, because the compounds would not have provided pain relief in the manner in

which the Defendant marketed the compounds. This was because the Defendant chose ingredients

not to relieve pain, but because the individual ingredients in his formulas reimbursed lots of money.

He chose his ingredients not based upon efficacy, but upon reimbursement value. For instance,

the Defendant marketed an “anti-inflammation” compound that contained some ingredients which

had no anti-inflammatory properties or effect. He marketed a “migraine” compound cream that

contained drugs that would not work to relieve headache pain when rubbed topically on the skin

(the Defendant received $14,365.39 per prescription, for a one month supply of this so-called

“migraine” cream). The Defendant marketed a seven ingredient “scar” cream compound that

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surgery at Walter Reed in the 2014 – 2015 time period. Due to the laparoscopic nature of their

surgery, many of these patients experienced little to no pain or scarring after their surgeries. Yet,

the Defendant induced referrals for scores of pain and scar creams related to these TRICARE

patients by splitting TRICARE reimbursements with the sales rep 50 – 50. These illegal kickback

payments, based on the value and volume of the TRICARE referrals and reimbursements, were

especially abusive to the U.S. taxpayer, because the Defendant made millions of dollars off of

topical creams that many of the TRICARE patients did not need, did not want, and did not use.

       Consistent with his boasts from his email correspondence, the Defendant exploited every

opportunity to get paid. And once he was paid, he did everything possible to keep the money he

received. One of the nefarious practices the Defendant engaged in, to obtain and maintain profits,

was to waive patient copayments (and in some instances, to pay copayments for patients without

their knowledge).

       Health care benefit programs, such as TRICARE, Blue Cross Blue Shield and CVS, require

pharmacies to collect copays for several reasons, including to prevent fraudulent billing practices

by pharmacies. These health care benefit programs would not authorize payment on any claim

where a copayment was intentionally waived in an unlawful manner. Further, these programs

would likely end their business relationship with any pharmacy that unlawfully and intentionally

waived or paid copayments for patients. But, waiving and paying copayments is exactly what the

Defendant planned to do, and did do at his pharmacy, as detailed in this training power point slide

used by the Defendant:




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       This excerpt from a PowerPoint training presentation, which also contained the name of

one of Defendant’s businesses, described the compound business as a “dog fight” and detailed that

one way to get business was to “pay co-pay on behalf of the patient” (yellow highlight added).

Even before he opened his pharmacy, the Defendant intended to waive patient copayments. The

following is an excerpt from an April 28, 2014 email within the Defendant’s email account, sent

to his mother to prepare her to speak on the phone to prospective patients regarding copayments:




       Once his pharmacy opened, the Defendant used pre-paid credit cards to pay copayments

for numerous private health care program beneficiaries. The pre-paid Visa and American Express

cards were purchased and loaded with cash at stores such as Walgreens. Then, various different

pre-paid cards were used by the Defendant at his pharmacy, on numerous occasions, to pay patient

copayments. The following is an excerpt from a credit card company business record. This

business transaction record provides details regarding a pre-paid credit card ending in # 8785,


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costs and business practices related to the Defendant’s creams and vitamins, many of the patients

made complaints and fraud referrals to their health care providers.

       The Defendant knew that paying kickbacks to induce the referral of federal health care

business to his pharmacy was illegal. TRICARE would have certainly refused any and all of the

claims submitted by the Defendant, if TRICARE had known that he was paying independent 1099

sales reps volume and value based commissions to induce TRICARE referrals to his pharmacy.

Because TRICARE did not know the Defendant was paying illegal remuneration to marketers on

each successfully reimbursed claim, TRICARE ended up paying the Defendant $6,352,941.66 in

reimbursement money from November 2014 through May 2015. These reimbursements were

tainted by illegal remunerations paid in violation of the Anti-Kickback Statute, and as such, the

total loss amount to the TRICARE federal health care program was at least $6,352.941.66.

 II.   Advisory U.S. Sentencing Guidelines

       The Government concurs with the advisory sentencing guideline provisions calculated in

the Presentence Investigation Report for Count 31 of the Superseding Indictment (Payment of

Illegal Remunerations), as follows:

       Base Offense Level:             6    U.S.S.G. § 2B1.1(a)(2)            PSR ¶ 36

       Loss Amount between
       $3.5 and $9.5 million:      +18     U.S.S.G. § 2B1.1(b)(1)(J)          PSR ¶ 37

       Victim - U.S. Government
       Health Care Program loss
       Over $1,000,000:         +2          U.S.S.G. § 2B1.1(b)(7)           PSR ¶ 38

       Subtotal                       26                                     PSR ¶ 42

       Acceptance:                    -3   U.S.S.G. § 3E1.1                  PSR ¶¶ 44, 45

       Total Offense Level:           23
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        Criminal History Category:        I1

        Advisory Guideline Range:         46 – 57 months                            PSR ¶ 139

        As detailed in paragraph nine of the plea agreement, the Government and the Defendant

“stipulate and agree pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), that a sentence

of Twelve (12) months and one day of imprisonment in the custody of the Bureau of Prisons, and

Defendant’s payment of restitution to TRICARE, pursuant to 18 U.S.C. § 3663(a)(3), in the

amount of $3,176,470.83, is the appropriate disposition of this case.”

        Considering the facts and circumstances of this case, and considering the fact that, on

January 11, 2022, it appears that the Defendant deposited the full amount of agreed-upon

restitution within the Court’s registry, the Government respectfully requests that the Court impose

a twelve (12) month and one day term of imprisonment in this case, pursuant to Rule 11(c)(1)(C)

of the Federal Rules of Criminal Procedure. Although this is a below-the-advisory-guidelines jail

sentence, the Government concurs that this is a reasonable sentence, considering all of the 3553(a)

factors described in more detail below. The Government also respectfully requests that the Court

impose a three year term of supervised release.

III.    18 U.S.C. § 3553(a) Factors




        1
            The Defendant is assessed with one criminal history point, based upon his 2009 conviction in
Worchester County for Driving a Vehicle While Impaired by Alcohol, for which he received 60 days in
jail, with 30 days suspended, and two years of supervised probation. PSR ¶ 53. Additionally, the Defendant
was sentenced to: Probation Before Judgement and one year of supervised probation for a 1998 Driving
While Intoxicated offense in Baltimore County; a fine for a 1999 Reckless Driving offense (he was also
arrested at the same time for Driving Under the Influence of Alcohol) in Worchester County; Probation
Before Judgement and three days confinement for a 2004 Driving a Vehicle While Under the Influence
offense in Howard County; and Probation Before Judgement and three years of supervised probation for a
2004 Driving a Vehicle Without a License conviction in Baltimore County. PSR ¶¶ 49-52, 56.
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           1. A twelve month and one day sentence reflects the seriousness of the offense,
              provides just punishment, promotes respect for the law, and affords some
              protection to the public related to the risk of future financial crimes.

       The Defendant’s misconduct is very serious. He financially abused U.S. taxpayers, and

the TRICARE health care benefit program, by paying illegal kickbacks to induce federal health

care prescription referrals to his pharmacy. It is important to note that the Defendant’s crimes are

not victimless. The Defendant caused financial harm to both the TRICARE program generally,

and to the American taxpayer.

        The purpose of the AKS was to combat rampant fraud that was occurring in federal health

care programs. The AKS is the culmination of Congressional effort to combat fraud, waste and

abuse in federal health care programs. United States v. Neufeld, 908 F. Supp. 491, 493 (S.D. Ohio

1995). In 1977, Congress added the Antifraud and Abuse amendments to the Social Security Act,

the purpose of which was to address the “disturbing degree [of] fraudulent and abusive practices

associated with the provision of health services financed by the Medicare and Medicaid programs.”

United States v. Shaw, 106 F. Supp. 2d 103, 110 (D. Mass. 2000) (citing H.R. Rep. No. 95-393,

pt. 2, at 44 (1977), reprinted in 1977 U.S.C.C.A.N. 3039, 3047). At the time of the amendment,

Congressional findings included the following:

       In whatever form it is found … fraud in these health care financing programs
       adversely impacts on all Americans. It cheats taxpayers who must ultimately bear
       the financial burden of misuse of funds in any government-sponsored program. It
       diverts from those most in need, the nation’s elderly and poor, scarce program
       dollars that were intended to provide vitally needed quality health services.

       Id. at 110-111 (quoting 1977 U.S.C.C.A.N. at 3047).

       Indeed, the Defendant’s actions adversely impacted the community. His misconduct

impacted taxpayers, who bear the financial burden of the Defendant’s misconduct, as noted by

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Congress. His actions diverted over six million dollars from the TRICARE program. TRICARE

would not have paid any of the money to the Defendant, had the Defendant’s volume and value

based remunerations to marketers been known to TRICARE. The diversion of these millions of

dollars occurred at a time when those funds were urgently needed to treat U.S. military members

who were engaged in combat operations overseas, and who were recuperating at the Walter Reed

Hospital for terrible injuries incurred while serving our county abroad. This is a serious loss that

even the Defendant’s hefty restitution payment cannot adequately recompense.

       At the core of the Defendant’s misconduct is greed. He was driven by his motive for

monetary profit. He was aware of the AKS, and the restrictions imposed by the law at the time he

committed paid the illegal remunerations at issue in this case. Indeed, the Defendant cited AKS

provisions to other people via email, and acknowledged that the payment of commissions to

independent marketers for health care business referrals was a violation of the AKS. Although he

clearly understood the law, he disregarded that law. The Defendant, willing to “exploit every

opportunity to get paid” demonstrated that he does not respect the law. A twelve month and one

day sentence will help to promote the Defendant’s respect for the law.

       Further, the Defendant poses a financial danger to the community. A twelve month and

one day sentence will serve to protect the public and mitigate the financial danger that the

Defendant poses, especially to the U.S. taxpayer. Moreover, this sentence will also provide just

punishment for the Defendant’s crimes.


           2. A twelve month and one day sentence is necessary to afford specific and
              general deterrence.




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          A twelve month and one day prison sentence will help to ensure that the Defendant will

not commit crimes for his own personal financial gain. Such a sentence will specifically deter this

Defendant from paying illegal kickbacks or committing fraud while he is incarcerated, and the

sentence may also serve as a deterrent regarding further illegal activity by the Defendant into the

future.

          There is also an urgent need for the sentence to provide general deterrence to others in the

community. Paying these illegal kickbacks, in order to maximize profits, imposed an unnecessary

burden on the TRICARE health care benefit program. This type of fraud has a broad impact on

Government’s health care programs, and is a violation of the public’s trust. The erosion of trust

will become worse over time unless a clear message is sent to the community that paying illegal

kickbacks to maximize profits from programs funded by federal taxpayer dollars is completely and

entirely unacceptable. It is imperative that the sentence imposed in this case deter not only the

Defendant from further involvement in illegal kickbacks and fraud, but also deter others who may

be tempted to engage in these crimes by the allure of high profits. A twelve month and one day

jail sentence, and a $3,176,470.83 order of restitution, will send a clear message to others, that if

they abuse federal government health care programs such as TRICARE, then they will be caught,

prosecuted, and that punishment for such crimes will be significant, and will include jail time.

Indeed, the prospect of high profits has proven a powerful incentive to involvement in these crimes

in the past, and the sentence in this case must serve to overcome this incentive.

          A twelve month and one day sentence will demonstrate that the payment of illegal kickback

in order to obtain federal health care business is fraught with substantial risk of imprisonment and

must be avoided. Further, the Government seeks a three-year term of supervised release in order

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to provide an added layer of protection to the public and an added layer of specific deterrence for

this Defendant.

IV.    Restitution

       The Defendant unlawfully received approximately $6,352,941.66 in reimbursement

proceeds, tainted by AKS violations, from the TRICARE health care benefit program. The

Defendant used this money to buy expensive real estate, luxury vehicles and personal effects,

among other purchases and investments. Pursuant to 18 U.S.C. § 3663(a)(3), the Defendant has

agreed to consent to a restitution order in the amount of $3,176,470.83 (which is approximately

50% of the amount of TRICARE reimbursements in this case). The Defendant has further agreed

to deposit the full amount of restitution with the Court’s registry, in advance of the sentencing

hearing in this matter. It is the Government’s understanding that the Defendant has already

deposited the full amount with the Clerk of Court. Therefore, the Government respectfully

requests, pursuant to the plea agreement entered into by the Defendant, and pursuant to 18 U.S.C.

§ 3663(a)(3), that the Court enter a Restitution Order in the amount of $3,176,470.83, payable to

TRICARE immediately, at the time of the sentencing hearing in this case, currently scheduled for

February 10, 2022.

 V.    Conclusion

       For the reasons set forth above, the Government respectfully submits that 12 months and

one day of confinement, three years of supervised release, and a restitution order in the amount of

$3,176,470.83, comprises a reasonable sentence in this matter, and that this sentence is sufficient,

but not greater than necessary to comply with the sentencing factors set forth in 18 U.S.C. §

3553(a)(2).

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                                    Respectfully submitted,


                                    Erek L. Barron
                                    United States Attorney

                             By:            /s/
                                    Christine Duey
                                    Paul Riley
                                    Assistant United States Attorneys




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